 

415 Wesley Suite 1
Oak Park, IL 60302
(773) 746-3163

EXHIBIT 1

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Case 1:15-cr-00023-RGA Document 2 Filed 05/06/15 Page 1 of 6 PagelD #: 1

IN THE UNITED STATES DISTRICT COURT

FOR THE DISTRICT OF DELAWARE

UNITED STATES OF AMERICA, ) = $s
) = ze
Plaintiff, ) ~< Tn
v. ) Criminal Action No. 15-T2>-UMc. Fe
) > mS
WILLIAM B. NORTH and pS pie = Bo
KEVYN N. RAKOWSKI, RE [: > {ED ~ FS
) ae OC “ mS

)

Defendants.

INDICTMENT
The Grand Jury for the District of (ulna charges that:
INTRODUCTION
At all times material to this Indictment:
COMMON INDIVIDUALS AND ENTITIES

1. Wilmington Trust Corporation (“WL”), headquartered in Wilmington, Delaware, was
a Bank Holding Company whose securities were traded on the New York Stock Exchange
(“NYSE”) under the trading symbol “WL.”

2. Wilmington Trust Company (“WTC” or “the Bank”) comprised WL’s Delaware-
based, wholly-owned retail and commercial banking subsidiary and was a financial institution, as
defined by Title 18, United States Code, Section 20, with deposits insured by the Federal Deposit
Insurance Corporation. Beginning in or around December 2008, WTC participated in the
Department of the Treasury’s Capital Purchase Program (“CPP”), a subset of the Troubled Asset
Relief Program (“TARP”).

3. WILLIAM B. NORTH (“NORTH”) was employed by the Bank as its Chief Credit

Officer, and was responsible for, among other things, the Bank’s credit policies and

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administration, its monitoring and managing of past due loans, and its loan recovery and
collection efforts.

4. KEVYN N. RAKOWSKI (“RAKOWSKI”) was employed by the Bank as its
Controller, and was responsible for, among other things, the Bank’s compliance with regulatory
reporting requirements and ‘generally accepted accounting principles (“GAAP”), and the
accuracy of its publicly-reported financial information.

THE BANK’S REPORTING OBLIGATIONS

5. At all times material to this Indictment, the Bank was a “State Member Bank” of the
Federal Reserve System, as defined by Title 12, United States Code, Section 1813(d). The
Board of Governors of the Federal Reserve System (the “Board of Governors”) was the primary
federal banking agency charged with supervising and regulating the Bank to ensure that the Bank
engaged in safe and sound banking practices and complied with federal banking laws. The
Federal Reserve Bank of Philadelphia (hereinafter the “Reserve Bank”), carried out the day-to-
day supervisory functions of the Board of Governors with respect to WL and WTC, under
authority delegated to it by the Board of Governors.

6. The Bank was required to file, and did file with the Board of Governors and the
Reserve Bank (collectively referred i as the “Federal Reserve”), a quarterly “Consolidated
Report of Condition and Income for a Bank with Dornestic Offices Only ~ FFIEC 041,” which is
commonly known as the “Call Report.” The Call Report set forth detailed financial data about
the Bank’s financial position and the results of its operations for that quarter. Schedule RC-N of
the Call Report required disclosure of the Bank’s total amount of loans that were (a) 30 to 89
days past due: (b) 90 days or more past due for that quarter; and (c) on nonaccrual status; that is,

no longer accruing interest income.

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7. The Federal Reserve also considered the Bank’s past due loan information as part of
its examinations into the safety and soundness of the Bank.

8. As a publicly-traded company that was listed on the NYSE, the Bank was also
required to file and did file quarterly and annual reports with the United States Securities and
Exchange Commission (“SEC”). A quarterly report is referred to as a “Form 10-Q,” while an
annual report is referred to as a “Form 10-K” (hereinafter referred to as “SEC Reports”). The
Bank was required to disclose accurately in its SEC Reports the Bank's total amount of loans
that were 90 days or more past due and nonaccruing loans.

9. In October 2009, the Bank entered into an agreement with the Federal Reserve that,
among other obligations, required the Bank to submit its past due and nonaccruing loan
information to the Federal Reserve on a monthly basis (the “Monthly Regulatory Reports”).

THE SUBMISSION OF FALSE PAST DUE LOAN INFORMATION

10. A “matured loan” is a term loan in which the principal payment is past due. Unless
the Bank extended the loan through a new legal agreement with the borrower, repayment in full
was due upon maturity. The Bank’s internal accounting system, known as the SHAW system,
considered al] matured loans to be past due.

11. Defendants North and Rakowski participated with other individuals known and
unknown to the Grand Jury in a practice to waive, that is, to not report publicly in Call Reports,
SEC Reports, and the Monthly Regulatory Reports matured loans that were either (a) current for
interest and in the process of extension, or (b) handled by the Bank’s loan recovery section.

12. NORTH, as Chief Credit Officer, was responsible for, among other things, reviewing
and approving the Bank's internal list of past due loans (the “Delinquency Report”). The
Delinquency Report, which was populated with past due loan information from the SHAW

system, was used by the Bank to report its past due loans to the SEC and the Federal Reserve.

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The Delinquency Report was sorted into two primary subreports: a “Balance Sheet” subreport,
which calculated past due loan information in a format to be reported in public filings with the
SEC, and an “FRB” subreport, which calculated the information in a format to be reported in
Schedule RC-N of the Call Report. Both subreports were filtered in such a way that loans which
had been deemed waived from the Delinquency Report were not included in the total amount of
loans considered to be past due for financial reporting purposes.

13. NORTH was aware that the approved Delinquency Reports were forwarded to the
Bank’s Office of the Controller and used to create the Bank’s final report of Past Due and
Nonperforming Loans (“Past Due Report”), and that the loan figures contained in the Past Due
Report were reported in the Bank’s Call Reports, SEC Reports, and Monthly Regulatory Reports.
NORTH repeatedly expressed concerns over the rising magnitude of matured loans at the Bank,
the practice of waiving loans that had not been approved for extensions from past due reporting,
and the possibility that the waiver practice could be subject to scrutiny by outside parties.
Despite these concerns, NORTH approved the waiver of matured loans from the Delinquency
Report knowing that a substantial portion of the waived loans were of poor quality and/or had
not been extended over multiple reporting periods.

14. RAKOWSKI, as Controller, was responsible for, among other things, approving the
Bank’s Past Due Report. Like NORTH, RAKOWSKI knew that the past due Joan figures
contained in the Past Due Report did not include waived loans, and knew that such past due loan
figures were nonetheless reported in the Bank’s Call Reports, SEC Reports, and Monthly
Regulatory Reports. RAKOWSKI approved the past due loan figures in the Past Due Report for
public reporting regardless of the underlying basis for the waiver decisions or the length of time

by which particular loans had exceeded their contractual terms.

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15. The waiver practice resulted in the Bank's failure to report a material quantity of past
due and nonaccruing loans in its Call Reports and SEC Reports.

16. The waiver practice further resulted in the Bank’s failure to report its total amount of
past due and nonaccruing loans in the Monthly Regulatory Reports.

COUNT ONE

17. The allegations contained in paragraph | through paragraph 16 of this Indictment are
repeated and realleged as if fully set forth herein.

18. On or about November 9, 2009, in the District of Delaware and elsewhere,
Defendants WILLIAM B. NORTH and KEVYN N. RAKOWSKI and others known and
unknown to the Grand Jury, did willfully and knowingly make a materially false, fictitious, and
fraudulent statement and representation in a matter within the jurisdiction of the executive
branch of Government of the United States by falsely reporting to the Securities and Exchange
Commission the Bank’s total quantity of past due and nonaccruing loans in WL’s SEC Report
(Form 10-Q) for the Third Quarter 2009.

All in violation of Title 18, United States Code, Sections 1001 and 2.

COUNTS TWO THROUGH FOUR

19. The allegations contained in paragraph | through paragraph 16 of this Indictment are
repeated and realleged as if fully set forth herein.

20. From on or about October 30, 2009, to on or about November 25, 2009, in the District
of Delaware and elsewhere, Defendants WILLIAM B. NORTH and KEVYN N. RAKOWSKI,
and others known and unknown to the Grand Jury, did willfully and knowingly make materially
false, fictitious, and fraudulent statements and representations in matters within the jurisdiction
of the executive branch of Government of the United States by falsely reporting to the Federal

Reserve the Bank’s total quantity of past due and nonaccruing loans as set forth below:

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Case 1:15-cr-00023-RGA Document 2 Filed 05/06/15 Page 6 of 6 PagelD #: 6

 

 

 

 

 

COUNT FILING APPROXIMATE DATE
OF FILING
Two WTC Call Report for the Third Quarter of November 13, 2009
2009

Three WL September 2009 Monthly Regulatory October 30, 2009
Report

Four WL October 2009 Monthly Regulatory November 25, 2009
Report

 

 

 

 

All in violation of Title 18, United States Code, Sections 1001] and 2.
A TRUE BILL:

Foreperson

CHARLES M. OBERLY, I]
United States Attorney

Meher Ty

” cbt F.Kravetz /
Lesley F. Wolf
Assistant United States Attorneys

Date: May 6, 2015

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EXHIBIT 2

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Retu_a Date: No return date scheduled
Hearing Date: 10/30/2019 9:45 AM - 9:45 AM
Courtroom Number: N/A

ion: Di : FILED
Location: District 1 Court ce
Cook County, IL os 40/10/2019 2:49 PM

FILED DATE: 16/10/2019 2:49 PM + 2017CHO08634

, DOROTHY. BROWN
CIRCUIT CLERK
COOK COUNTY, IL
2017CH08634

— - 691KDGR3134

IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS
COUNTY DEPARTMENT - CHANCERY DIVISION —

WILMINGTON TRUST, NATIONAL
ASSOCIATION, AS SUCCESOR TRUSTEE
TO CITIBANK, N.A., AS TRUSTEE FOR
FIRST FRANKLIN MORTGAGE LOAN
TRUST, MORTGAGE LOAN _ ASSET-
BACKED CERTIFICATES, SERIES 2005- ? ;
FF12, NO. 17 CH 8634

PLAINTIFF,
-vs- CALENDAR NO: 57

PRISCILLA L. WRIGHT A/K/A PRISCILLA | PROPERTY ADDRESS:
WRIGHT A/K/A- PRISCILLA LOUISE | 415 WESLEY AVENUE, UNIT 1
WRIGHT; FIRST FRANKLIN FINANCIAL | OAK PARK, IL 60302
CORPORATION; CHRISTOPHER STOLLER;
WESLEY TERRACE CONDOMINIUM
ASSOCIATION; UNKNOWN OWNERS AND

NON-RECORD CLAIMANTS; UNKNOWN

 

OCCUPANTS;
DEFENDANTS,
NOTICE OF MOTION
TO: -Kovitz Shifrin Nesbitt, 175 N. Archer Avenue, Mundelein, IL 60060

   
 

~Christopheg Stoller, 415 Wesley Avenue, Unit 1, Oak Park, IL 60302

-Attomey Philip M. Kiss, 5250 Grand Ave #14-408, Gurnee, IL 60031

-Marinosci Law Group, Inc., 134 N. LaSalle Street, Suite 1900, Chicago, IL 60602
(nlgii@mig-defaultiaw.com)

-Priscilla L. Wright a/k/a Priscilla Wright a/k/a Priscilla Louis Wright, 4575 Frontage
Road, Room 210, Hillside, 1L 60162

-Unknown Occupants, 415 ey Avenue, Unit 1, Oak Park, IL 60302

~On October 30; 2019;-at-9:45- a.m. or as soon thereafter as counsel may be heard, | shall

appear before the Honorable Judge Curry, or any Judge sitting in his stead in courtroom 2809 at

the Richard J. Daley Center, 50 West Washington Street, Chicago, {L 60602 and shall there and

then present Plaintiff's Motion for Summary Judgment and Motion for Entry of a Consent
Judgment of Foreclosure.

By:S/Jo H
One of Plaintiff's Attorneys

Joseph M. Herbas
Shapiro Kreisman & Associates, LLC,

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FILED DATE: 10/10/2019 2:49 PM 2017CHOB634

2121 Waukegan Road, Suite 301
Bannockbum, IL 60015

(847) 291-1717

Attorney No. 42168
iLNotices(@logs.co

PROOF OF SERVICE BY MAIL

The undersigned, an attorney, states that this notice and Plaintiffs motions are being
served by regular mail to the parties and addresses on the service list by depositing a copy of the
same in the U.S. Post Office Box located at 209 South LaSalle Street, Chicago, Illinois on
October 10, 2019 before 5:30 p.m. with proper postage prepaid.

Under penalties as provided by law pursuant to Section 1-109 of the Code of Civil
Procedure, the undersigned certifies that the statements set forth in this instrument are true and
correct, except as to matters therein stated to be on information and belief and as to such matters
the undersigned certifies as aforesaid that she verily believes the same to be true.

By:S/Joseph M, Herbas
One of Plaintiff's Attorneys
Joseph M. Herbas
Shapiro Kreisman & Associates, LLC,
2121 Waukegan Road, Suite 301
Bannockburn, IL 60015
(847) 291-1717
Attorney No. 42168
ILNotices@logs.com

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~ ‘Retum Date: No return date scheduled
Hearing Date: 10/30/2019 9:45 AM - 9:45 AM
Courtroorn Number:

Location:

FILED DATE: 10/3/2019 12:00 PM 2017CHO8634

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10/3/2019 12:00 PM
DOROTHY BROWN
CIRCUIT CLERK
COOK COUNTY, iL
2017CHOB634

6819625
17-083134

IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS
COUNTY DEPARTMENT - CHANCERY DIVISION

WILMINGTON TRUST, NATIONAL
ASSOCIATION, AS SUCCESOR TRUSTEE
TO CITIBANK, N.A. AS TRUSTEE FOR
FIRST FRANKLIN MORTGAGE LOAN
TRUST, MORTGAGE LOAN _ ASSET-
BACKED CERTIFICATES, SERIES 2005-
FF12,
PLAINTIFF,

~VS-

PRISCILLA L. WRIGHT A/K/A PRISCILLA
WRIGHT A/K/A_ PRISCILLA LOUISE
WRIGHT; FIRST FRANKLIN FINANCIAL
CORPORATION; CHRISTOPHER STOLLER;
WESLEY TERRACE CONDOMINIUM
ASSOCIATION; UNKNOWN OWNERS AND
NON-RECORD CLAIMANTS; UNKNOWN
OCCUPANTS;
DEFENDANTS,

 

NO. 17 CH 8634
CALENDAR NO: 57
PROPERTY ADDRESS:

415 WESLEY AVENUE, UNIT 1
OAK PARK, IL 60302

 

NOW COMES the Plaintiff, WILMINGTON TRUST, NATIONAL ASSOCIATION, AS

SUCCESOR TRUSTEE TO CITIBANK, N.A., AS TRUSTEE FOR FIRST FRANKLIN

MORTGAGE LOAN TRUST, MORTGAGE LOAN ASSET-BACKED CERTIFICATES,

SERIES 2005-FF12, together with Defendant Priscilla L. Wright a/k/a Priscilla Wright a/k/a

Priscilla Louise Wright (hereinafter referred to as “Defendant”), in support of their Motion for

the Entry of a Consent Foreclosure pursuant to 735 ILCS 5/15-1402 states as foliows:

1. Plaintiff filed an action to foreclose a mortgage on the property known as 415 Wesley

Avenue, Unit 1, Oak Park, IL 60302.

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2. Plaintiff and Defendant deemed that it would be in the best interest of all parties to enter
into a Consent Judgment of Foreclosure to settle and resolve any and ali outstanding
issues between them.

3, That pursuant to 735 ILCS 5/15-1402, Plaintiff offers to Defendant a Consent Judgment
of Foreclosure which shall be entered herein, to waive any and ali rights to a personal
judgment for deficiency against the mortgagors and any other persons liable for payment
of the indebtedness.

4. That this offer has been made pursuant to this Motion with Notice to all parties named in
this Mortgage Foreclosure not in default

a Attached hereto is the Affidavit of said Defendant expressly consenting to the entry of the
Consent Judgment of Foreclosure.

6. That Notice has been given to all parties who have not previously been found to be in
default. |
WHEREFORE, pursuant to 735 ILCS 5/15-1402, Plaintiff and Defendants respectfully

request that this court grant Plaintiff and Defendant Priscilla L. Wright a/k/a Priscilla Wright

a/k/a Priscilla Louise Wright’s joint motion for entry of a Consent of Judgment of Foreclosure

which will have the affect of conveying clear and absolute title and into the property to the

Plaintiff herein.

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FILED DATE: 10/3/2019 12:00 PM 2017CHO8834

By: S/Joseph M, Herbas
One of Plaintiff's Attorneys

Shapiro Kreisman & Associates, LLC
Attorney for Plaintiff

2121 Waukegan Road, Suite 301
Bannockbum, IL 60015

(847) 291-1717
ILNOTICES@logs.com

Attomey No: 42168

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FILED DATE: 10/3/2019 12:00 PM 2017CHO8634

17-083134

IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS
COUNTY DEPARTMENT - CHANCERY DIVISION

WILMINGTON TRUST, NATIONAL
ASSOCIATION, AS SUCCESOR TRUSTEE
TO CITIBANK, N.A., AS TRUSTEE FOR
FIRST FRANKLIN MORTGAGE LOAN
TRUST, MORTGAGE LOAN  ASSET-
BACKED CERTIFICATES, SERIES 2005-
FF12,
PLAINTIFF,

«VS

PRISCILLA L. WRIGHT A/K/A PRISCILLA
WRIGHT A/K/A- PRISCILLA LOUISE
WRIGHT; FIRST FRANKLIN FINANCIAL
CORPORATION; CHRISTOPHER STOLLER;
WESLEY TERRACE CONDOMINIUM
ASSOCIATION; UNKNOWN OWNERS AND
NON-RECORD CLAIMANTS; UNKNOWN
OCCUPANTS;
DEFENDANTS,

 

NO. 17 CH 8634

CALENDAR NO: 57

PROPERTY ADDRESS;
415 WESLEY AVENUE, UNIT 1
OAK PARK, IL 60302

 

Priscilla L. Wright a/k/a Priscilla Wright a/k/a Priscilla Louise Wright being first duly

sworn on oath state as follows:

counsel.

Judgment of Foreclosure.

That she is the Defendant morigagor in the above entitled action and are represented by

That ] have been advised of the ramifications and effect of the entry of a Consent

That I acknowledge that the entry of the Consent Judgment of Foreclosure will have the

effect of conveying clear and absolute title to the Plaintiff herein and terminate any and
all rights of reinstatement, redemption, and rights of Possession.

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4, The ramifications of such action have been explained to me and ! do hereby expressly
consent to the entry of the Judgment of Foreclosure by Consent pursuant to 735 ILCS

 

 

5/15-1402. ; 5
Priscilla L. Wright a/k/a Priscilla Wright a/k/a
Priscilla Louise Wright
Subscribed and sworn to before
me this day of July 2019.
Notary Public

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’ , Return Date: No return date scheduled

Hearing Date: 10/30/2019 9:45 AM- 9:45 AM
Courtroom Number: N/A
Location: District 1 Court

FILED DATE: 10/10/2019 2:49 PM 2017CHO8634

Cook County, IL

FILED
10/10/2019 2:49 PM
DOROTHY BROWN
CIRCUIT CLERK
COOK COUNTY, IL
2017CH08634
691400983134
IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS
COUNTY DEPARTMENT - CHANCERY DIVISION
WILMINGTON TRUST, NATIONAL
ASSOCIATION, AS SUCCESOR TRUSTEE TO
CITIBANK, N.A., AS TRUSTEE FOR FIRST
FRANKLIN MORTGAGE LOAN TRUST,
MORTGAGE LOAN  ASSET-BACKED
CERTIFICATES, SERIES 2005-FF12,
PLAINTIFF, NO. 17 CH 8634
Af CALENDAR NO: 57
WRIGHT AK/A PRISCILLA Louise | PROPERTY ADDRESS:
) VK. SCIL. “ | 415 WESLEY AVENUE, UNIT 1
WRIGHT; FIRST FRANKLIN FINANCIAL | Oy parK 1160302 ”
CORPORATION; CHRISTOPHER STOLLER;
WESLEY TERRACE CONDOMINIUM
ASSOCIATION; UNKNOWN OWNERS AND
NON-RECORD CLAIMANTS; UNKNOWN
OCCUPANTS;
DEFENDANTS,

 

 

NOW COMES Plaintiff, WILMINGTON TRUST, NATIONAL ASSOCIATION, AS

SUCCESOR TRUSTEE TO CITIBANK, N.A., AS TRUSTEE FOR FIRST FRANKLIN

MORTGAGE LOAN TRUST, MORTGAGE LOAN ASSET-BACKED CERTIFICATES,

SERIES 2005-FF12, by its attorneys, Shapiro Kreisman & Associates, LLC, and in support of its

Motion for Summary Judgment against Defendants Christopher Stoller, First Franklin Financial

Corporation, and Wesley Terrace Condominium Association on Plaintiff's Complaint, Plaintiff

states as follows:

 

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1. Defendants Christopher Stoller, First Franklin Financia! Corporation, and Wesley
Terrace Condominium Association have filed an appearance int his matter. Copies of their
respective appearances are attached hereto.

2. Defendants are named as party defendants in this foreclosure action because they
have an interest in the property that is junior and subordinate to Plaintiff's mortgage.

3. The general rule of lien pricrity in Iimois is that the first lien to be recorded in
time has priority over any other lien that is recorded subsequent to it Cole Taylor Bank v. Cole
Taylor Bank, 586 N.E. 2d 775, 224 ILL. App. 3d 696 (1" Dist. 1992); Durand State Bank v.
Earlywine, 675 N. E. 2d 1028, 286 ILL 3d 210 (2™ Dist, 1997).

4. Plaintiff's mortgage was recorded before Defendants’ interest in the property.
Therefore, Plaintiff is entitled to prior satisfaction of the property it binds.

5. Summary Judgment is proper where there are no germuine issues of material fact
and moving party is entitled to judgment as a matter of law. 735 ILCS 5/2-1005(d); Petin
Insurance Co. v. Dial, 355 N.App.3d 516, 823 N.E.2d 986 (5™ Dist. 2005); Bank of America
National Trust v. Schulson, 305 Ml.App.3d 941, 714 N.E.2d 20 (1* Dist. 1999).

6. Once a motion has been filed for summary judgment, the burden shifts to the non-
moving party to show, through specific evidence, that a triabic issue of fact remains. See Celotex
Corp. v. Catrett, 477 U.S. 317, 106 §.Ct. 2458 (1986). The nonmovant may not rest upon mere
allegations in the pleadings or upon conclusory statements in affidavits. id. The nonmovant must

go beyond the pleadings and support its contention with proper documentary evidence. fd. Illinois

courts have applied the ruling in Ce/otex to mortgage foreclosures and found that, in order to

establish a prima facie case of foreclosure, a plaintiff is required only to introduce the Note and

Mortgage. Farm Credit Bank v. Biethman, 262 0l.App.3d 614, 634 N.E.2d 1312 (5" Dist. 1994).

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7. Plaintiff is entitled to summary judgment in its favor because no genuine issue of
material fact exists with respect to the lien priority between Plaintiff and any of the Defendants.
8. Plaintiff and the mortgagor defendant Priscilla Wright have agreed to a consent

judgment pursuant to the provisions of 735 ILCS 5/15-1402, which states:

Sec. 1o-1 402, Consent Foreclosure.

 

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the United States of. Aewied Lohiche cannot he foreclosed without judicial sale)
and interest “s the ee a all — - reinstatement —

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subsection (c) of Section 15-1502 if at any time before sale:

(i) the mortgagee offers, in connection with such a judgment, to waive
any and ail rights to a personal judgment for deficiency against the mortgagor
and against ail other persons liable for the indebtedness or other obligations
secured by the mortgage;

(2) such offer is made either in the foreclosure complaint or by motion
upon notice to ail parties not in default;

(3) all mortgagors who then have an interest in the mortgaged real estate,
by answer to the complaint, response to the motion or stipulation filed with the
court expressly consent to the entry of such judgment;

(4) no other party, by answer or by response to the motion or stipulation,
within the time allowed for such answer or response, objects to the entry of
such judgment; and

(3) upon notice to all parties who have not previously been found in
default for failure to appear, answer or otherwise plead.

9, To the extent Defendants Christopher Stoller, First Franklin Financial
Corporation, and Wesley Terrace Condominium Association have any objection to the Entry of a

Consent Judgment, the procedure for objecting is set forth in 735 ILCS 5/15-1402(b), which states:

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(b) Objection. If any party other than a mortgagor who then has an interest in
the mortgaged real estate objects to the entry of such judgment by consent, the
court, after hearing, shall enter an order providing either:

(1) that for good cause shown, the judgment by consent shall not be
allowed; or

(2) that, good cause not having been shown by the objecting party and the
objecting party not having agreed to pay the emount required to redeem in
accordance with subsection (d) of Section 15-1603, title to the mortgaged real
estate be vested in the mortgagee as requested by the mortgagee and consented
to by the mortgagor; or

accordance with subsection (d) of Section 15-1603, finding that the
objecting party (or, if more than one party so objects, the objecting party
who has the least priority) has agreed to pay such amount and additional
interest under the mortgage accrued to the date af payment within 30 days
after entry of the order, and declaring that upon payment of such amount
within 30 days title to the mortgaged real estate shall be vested in such
objecting party. Title so vested shall be free and clear of all claims, liens
(except liens of the United States of America which cannot be foreclosed
without judicial sale) and interest of the mortgagor and of all rights of other
persons made parties in the foreclosure whose interests are subordinate to
the interest of the mortgagee and all nonrecord claimants given notice in
accordance with paragraph (2) of subsection (c) of Section 15-1502. If any
objecting party subject to such an order has not paid the amount required
fo redeem in accordance with that order within the 30-day period, the court
(i) shall order that such title to the mortgaged real estate shall vest in the
objecting party next higher in priority (and successively with respect to each
other objecting party in increasing order of such party's priority), if any,
upon that party's agreeing to pay within 30 days after the entry of such
further order, such amount as specified in the original order plus additional
interest under the terms of the mortgage accrued to the date of payment,
provided that such party pays such amount within the 30-day period, and
(ti) may order that the non-paying objecting party pay costs, interest
accrued between the start of the preceding 30-day period and the later of
the date another objecting party makes the payment, if applicable, or the
date such period expired, and the reasonable attorneys’ fees incurred by all
other parties on account of that party's objection.

19. To the extent any of the Defendants have any objection to the consent judgment,

the Defendants must follow the procedures set forth in 735 ILCS 5/15-1402(b).

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Appeerance and Jury Demand" —_ ___ Rev. 01/20/15) CCG NOO9

   

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2 DEPARTMENT/__/ =*— DISTRICT

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The undersigned enters the appearance of he
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(2 Initial Counsel of Record @Pro Se (Self-represented) 2810 Q Rule 707 Curiehees Gains (pro hac vice)
O) Additional Appearance © Substirute Appearance
| must be sent to all other parties named in this case (or to |

Q Any. No. cae D Pro 5599500
Name: CML SES ly C3 J is
| their attorneys) using either regular mail, facsimile tran- |

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| mission (fax) or personal delivery, (See Ilingis

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City/State/Zip Code: whe fowl Supreme Cours Rules 11 and 13 for more information.)

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by consent pursuant to Ill. Sup. Court Rules 11 and

     
     
 
     

  

| Once this Appearance form is filed, photocopies of this form }

 

     

131.

Pro Se Only: ZAI have read and agree to the terms of the Clerk's Office Electronic Notice Policy d choose to

opt in to electronic notice from the Clerk's office for this case at this email address; C/V MAL.
*Strike demand for trial by jury if not applicable. LIMSY AD aT MA bd

 

I certify that a copy of the Within instrument was served on all parties who have

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DOROTHY BROWN, CLERK OF THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS
Page 1 of |

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STATE OF ILLINOIS

Firm No.: 59049

 

COUNTY OF COOK.
IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS,
- COUNTY DEPARTMENT - CHANCERY DIVISION -
WILMINGTON TRUST, NATIONAL Case No. 17 CH 08634
ASSOCIATION, AS SUCCESSOR TRUSTEE TO
CITIBANK, N.A., AS TRUSTEE FOR FIRST
FRANKLIN MORTGAGE LOAN TRUST,
MORTGAGE LOAN ASSET-BACKED
CERTIFICATES, SERIES 2005-FF12
Plaintiff, Cal No.: 62
vs.
FIRST FRANKLIN FINANCIAL CORPORATION, Address:
CHRISTOPHER STOLLER, UNKNOWN 415 Wesley Avenue
OCCUPANTS, WESLEY TERRACE Unit 1
CONDOMINIUM ASSOCIATION, PRISCILLA L. Oak Park, IL 60302
WRIGHT A/K/A PRISCILLA WRIGHT A/K/A
PRISCILLA LOUISE WRIGHT; UNKNOWN
OWNERS AND NON-RECORD CLAIMANTS
Defendant(s).
APPEARANCE

1, the undersigned, hereby enter my appearance on behalf of Defendant: FIRST FRANKLIN

FINANCIAL CORPORATION.

18-14210

yw

Shaun Callahan

Attomey, Marinosci Law Group, P.C,
ARDC No.: 6296022

134 N. LaSalle Street, Suite 1900
Chicago, IL 60602

Telephone: 312-940-8580

Fax: 401-234-5130
migil@mlg-defaultlaw.com

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